Case 1:05-cr-00039-MW-GRJ          Document 208       Filed 06/20/06    Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                               CASE NO.: 1:05cr39-SPM

IREN CERGIO RAINEY,

           Defendant.
____________________________/

             ORDER TO SUBMIT APPLICATION FOR ADMISSION

       On June 2, 2006, Attorney Robert J. Nesmith’s Notice of Appearance as

Attorney of Record (doc. 201) was filed, with the understanding that he would

soon be submitting an application for admission to practice in the Northern

District of Florida. More than two weeks have passed, but it does not appear that

Attorney Nesmith has submitted his application. Based on the foregoing, it is

       ORDERED AND ADJUDGED:

       1.     Attorney Nesmith shall have up to and including June 23, 2006 to

submit his application for admission to practice in the Northern District of Florida,

or file a written statement showing good cause for his failure to do so.

       2.     Failure to submit the application or file the written statement, as

ordered, may result in the imposition of sanctions.

       DONE AND ORDERED this 20th day of June, 2006.


                                      s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge
